Case:20-00027-EAG Doc#:30 Filed:12/11/20 Entered:12/11/20 09:57:53   Desc: Main
                          Document Page 1 of 6
Case:20-00027-EAG Doc#:30 Filed:12/11/20 Entered:12/11/20 09:57:53   Desc: Main
                          Document Page 2 of 6
Case:20-00027-EAG Doc#:30 Filed:12/11/20 Entered:12/11/20 09:57:53   Desc: Main
                          Document Page 3 of 6
Case:20-00027-EAG Doc#:30 Filed:12/11/20 Entered:12/11/20 09:57:53   Desc: Main
                          Document Page 4 of 6
Case:20-00027-EAG Doc#:30 Filed:12/11/20 Entered:12/11/20 09:57:53   Desc: Main
                          Document Page 5 of 6
Case:20-00027-EAG Doc#:30 Filed:12/11/20 Entered:12/11/20 09:57:53   Desc: Main
                          Document Page 6 of 6
